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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



                                                                Case No. 21-cv-3611
 IN RE EXELON CORPORATION
 DERIVATIVE LITIGATION                                          Judge John Robert Blakey




               EXELON’S UNOPPOSED MOTION FOR LEAVE TO FILE
               UNDER SEAL PURSUANT TO LOCAL RULES 5.8 AND 26.2

        Nominal Defendant Exelon Corporation (“Exelon”) hereby respectfully moves pursuant

to Local Rules 5.8 and 26.2(c) for an Order granting leave to file under seal (i) an unredacted

version of its Joinder in Renewed Motion for Preliminary Approval of Derivative Settlement (the

“Exelon Joinder”); and (ii) Exhibits A through C to the Declaration of Edmund Polubinski III in

Support of the Exelon Joinder (the “Polubinski Declaration”). In support of its unopposed

motion to seal, Exelon states as follows:

        1.     Under the applicable terms of the Agreed Confidentiality Order in this case (ECF

No. 142), any party is permitted to designate material as “Confidential” if the material “falls

within one or more” of several enumerated categories that include “research, technical,

commercial or financial information that the party has maintained as confidential.” ECF No. 142

at ¶¶ 2-3.

        2.     The Agreed Confidentiality Order requires that “[a]ny party wishing to file

[materials designated as Confidential] in connection with a motion, brief or other submission to

the Court must comply with LR 26.2.” Id. at ¶ 7.
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        3.        Under Local Rule 26.2(c), “[a]ny party wishing to file a document or portion of a

document electronically under seal in connection with a motion, brief or other submission

must . . . move the court for leave to file the document under seal,” and under Local Rule

26.2(b), the “[C]ourt may for good cause shown enter an order directing that one or more

documents be filed under seal.” LR 26.2(b), (c).

        4.        Exhibits A through C of the Polubinski Declaration, cited in the Exelon Joinder,

are documents produced by Exelon that have been designated Confidential by Exelon under the

Agreed Confidentiality Order. In compliance with Local Rule 26.2, Exelon believes that good

cause exists to file those exhibits under seal.

        5.        The Exelon Joinder discusses and quotes from Exhibits A through C of the

Polubinski Declaration. In compliance with Local Rule 26.2, Exelon believes that good cause

exists to file under seal the portions of the Exelon Joinder that reference Confidential material in

those exhibits.

        6.        In compliance with Local Rule 26.2(c), Exelon will file public-record versions of

the Exelon Joinder that redact references to Confidential material and omits Confidential

documents attached as exhibits.

        7.        Counsel for Exelon has conferred with counsel for the SLC, IRC, Settling

Shareholders, and Opposing Shareholders and understands that no parties oppose this Motion.

        WHEREFORE, Exelon respectfully submits that the Court grant its motion for leave to

file the unredacted Exelon Joinder and Exhibits A through C of the Polubinski Declaration under

seal.




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Dated: October 26, 2023              Respectfully submitted,

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